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CONFERENCE ATTENDANCE RECORD

DATE: S- 2-9 ~ |>- TIME: G90
CASE NAME: Dan Po Doe pw Morea

DOCKET NUMBER & SECTION: WS YO - a 714

STATUS PRELIMINARY — PRE-TRIAL SETTLEMENT

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NAME OF ATTORNEY PARTY(S) REPRESENTED
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Man Yock Lalli burton

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Case 2:10-md-02179-CJB-DPC Document 6099-1 Filed 03/23/12 Page 2 of3

NAME OF ATTORNEY

PARTY(S) REPRESENTED

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Robin Hanger - US

Ted Sekerides - O’Brien
Mike Petrino - BP

Shawn Brennan - M-I

Andy Langan - BP

Julie Sanger - TO

Joe Eisert - BP

Joel Gross - BP

Carter Marshall - Linden, Inc.

Mark Nomellini - BP

